            Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 1 of 10



     Mathew K. Higbee, Esq. (SBN 11158)
 1   Higbee & Associates
     2445 Fire Mesa Street, Ste 150
 2   Las Vegas, NV 89128
     Phone: (714) 617-8385
 3   Fax: (714) 617-8511
     consumeradvocacy@higbeeassociates.com
 4

 5                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
 6                                      RENO DIVISION
 7
     NIKKI VAN-ORMAN, on behalf                         )       Case No.: _______________________
 8   of herself and all others similarly situated       )
                                                        )       CLASS ACTION COMPLAINT AND
 9                  Plaintiffs,                         )       DEMAND FOR JURY TRIAL
            v.                                          )       (Unlawful Debt Collection Practices)
10                                                      )
     CLIENT SERVICES, INC,                              )
11                                                      )
                    Defendant.                          )
12                                                      )
13

14                                              COMPLAINT

15          NOW COMES Plaintiff, NIKKI VAN-ORMAN ("Plaintiff"), a Nevada resident, by and

16   through her attorneys, submits this Class Action Complaint against Defendant, CLIENT

17   SERVICES, INC. ("Defendant"), individually and on behalf of a class of all other similarly

18   situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure.

19                                                  Introduction

20          Congress enacted the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

21   (“FDCPA”) in 1977 in response to the “abundant evidence of the use of abusive, deceptive, and

22   unfair debt collection practices by many debt collectors.” 15 U.S.C. §1692(a). At that time,

23   Congress was concerned that “abusive debt collection practices contribute to the number of

24   personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual

25   privacy.” Id. Congress concluded that “existing laws…were inadequate to protect consumer,”


                                                            1
                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
            Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 2 of 10




 1   and that, effective collection of debts does not require a “misrepresentation or other abusive debt

 2   collection practices.” 15 U.S.C. §§ 1692(b)(c).

 3           Congress explained that the purpose of the Act was not only to eliminate abusive debt

 4   collection practices, but also to “insure that those debt collectors who refrain from using abusive

 5   debt collection practices are not competitively disadvantaged.” 15 U.S.C. § 1692(e). Congress

 6   passed the FDCPA to give consumers a private cause of action against debt collectors who fail to

 7   comply with the Act. 15 U.S.C. § 1692(k).

 8           “The CFPB has authority to issue substantive rules for debt collection under the

 9   FDCPA.” Zweigenhaft v. Receivables Performance Mgmt., LLC., 2014 U.S. Dist. LEXIS

10   160441, at 9 n.2 (E.D.N.Y. Nov. 13, 2014). A collection notice that may confuse or mislead the

11   least sophisticated consumer is deceptive under the FDCPA where “it can be reasonably read to

12   have two or more different meanings, one of which is inaccurate.” Russell v. Equifax A.R.S., 74

13   F.3d 30, 35 (2d Cir. 1996); accord Brown v. Card Serv. Ctr., 464 F.3d 450, 450 (3rd Cir. 2006);

14   Kistener v. Law Offices of Michael P. Margelefsk, LLC, 518 F.3d 433, 441 (6th Cir. 2008);

15   Gonzalez v. Arrow Fin. Servs., LLC, 660 F.3d 1055 (9th Cir. 2011) (conditional language on

16   liability such as “may” or “if” may render a true statement misleading).                   According         to

17   guidance published by the Consumer Financial Protection Bureau (hereinafter “CFPB”), a debt

18   collector’s representation to a consumer that paying debts may improve the consumer’s

19   creditworthiness or “enhance the likelihood that a consumer will subsequently receive credit

20   from a lender” may be deceptive. CFPD Bulletin 2013-08 – Representations Regarding Effect of

21   Debt    Payments       on    Credit    Reports      and       Scores   (July   10,    2013).     Available   at

22   http://files.consumerfinance.gov/f/201307_cfpb_bulletin_collections-consumer-credit.pdf.

23           Courts appropriately consider guidance in CFPB Bulletins and other publications to

24   determine whether a given statement or communication violates the FDCPA. See, e.g.,

25   Zweigenhaft; Bautz v. ARS Nat’l Servs., 226 F. Supp. 3d 131, 148 (E.D.N.Y. 2016); Portalatin


                                                               2
                           CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
            Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 3 of 10




 1   v. Blatt, 125 F. Supp. 3d 810, 816 (N.D. Ill. 2015) (citing Jerman v. Carlisle, McNellie, Rini,

 2   Kramer & Ulrich, L.P.A., 559 U.S. 573, 130 S. Ct. 1605 (2010)); Carter v. First Nat’l

 3   Collection Bureau, Inc., 135 F. Supp. 3d 565, 573 (S.D. Tex. 2015); Buchanan v. Northland

 4   Grp, 776 F. 3d 393, 398 (6th Cir. 2015); Oberg v. Blatt, Hasenmiller, Leibsker & Moore, LLC,

 5   2015 U.S. Dist. Lexis 172439, at 9 (N.D. Ill. Dec 29, 2015). Courts frequently adjure debt

 6   collectors to look to consumer protection agencies for compliance with the FDCPA, as the rules,

 7   guidance and advisory opinions issued by these agencies are supported by extrinsic scientific

 8   studies and research to determine whether certain collection practices are likely to deceive the

 9   least sophisticated consumer. See Bautz; and Portalatin (citing Jerman) (“the whole point of

10   authorizing the CFPA to produce advisory opinions is to encourage debt collectors to seek

11   CFPB guidance regarding the meaning of the FDCPA”); Oberg at 9 (“[Section 1692(k)(e)]

12   provides that a debt collector that acts in reliance on a CFPB advisory opinion cannot be held

13   liable even if the CFPB advisory opinion is later rescinded or reversed, either by the agency or

14   by judicial decision.”)

15           This class action arises under the FDCPA.

16                                          Jurisdiction and Venue

17           1.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

18   that such actions may be brought and heard before “any appropriate United States district court

19   without regard to the amount in controversy” and 28 U.S.C. § 1331.

20           2.      Because Defendant conducts business in Nevada, personal jurisdiction is

21   established

22           3.      Venue is proper in the United States District Court District of Nevada pursuant to

23   28 U.S.C § 1391(b) because Plaintiff resides within this District and a substantial part of the

24   events or omissions giving rise to the herein claims occurred, or a substantial part of property

25   that is the subject of the action is situated within this District.


                                                         3
                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
            Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 4 of 10




 1                                           Nature of the Action

 2           4.      Plaintiff brings this class action complaint on behalf of a class of Nevada

 3   consumer seeking redress for Defendant’s actions of using a misleading, deceptive, unfair and

 4   unconscionable means to collect a debt.

 5           5.      Defendant’s actions violated 15 U.S.C. § 1692 et seq., commonly referred to as

 6   the FDCPA.

 7           6.      Plaintiff is seeking damages, and declaratory and injunctive relief.

 8                                                   Parties

 9           7.      Plaintiff is a natural person residing in Elko County in the city of Spring Creek,

10   Nevada. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692(a)(3).

11           8.      Defendant is a business entity conducting business in the state of Nevada, and has

12   its principal place of business in Saint Charles, MO.

13           9.      Defendant uses instrumentalities of interstate commerce or the mails in a business

14   the principal purpose of which is the collection of any debts, or regularly collects or attempts to

15   collect, directly or indirectly debts owed or du, or asserted to be owed or due to another.

16           10.     Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6). Defendant acted

17   though its agents, employees, officers, members, directors, heirs, successors, assigns, principals,

18   trustees, sureties, subrogees, representatives and insurers.

19                           Factual Allegations Specific to Nikki Van-Orman

20           11.     Plaintiff is obligated, or allegedly obligated, to pay a debt (“Debt”) as to Chase

21   Bank USA, N.A.

22           12.     The Debt arises from transactions in which the money, property, insurance, or

23   services were incurred primarily for personal, family, or household purposes.

24           13.     In an attempt to collect the Debt, on or around October 13, 2017, Defendant sent

25   Plaintiff a collection letter (hereinafter, the “Letter”). See Exhibit A.


                                                        4
                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
            Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 5 of 10




 1          14.      The Letter states, in pertinent part: “If we settle this debt with you for less than the

 2   full outstanding balance, Chase may offer you less favorable terms in the future for some Chase

 3   products or services, or may deny your application.”

 4          15.      The Letter is a “communication” as defined by 15 U.S.C. § 1692(a)(2).

 5          16.      Upon information and good faith belief, Defendant, as a matter of pattern and

 6   practice, and in connection with the collection of debts, sends letters to consumers that are

 7   materially identical to the Letter that it sent to Plaintiff on or around October 13, 2017.

 8                                             Class Allegations

 9          17.      Plaintiff brings this claim on behalf of herself and others similarly situated.

10   pursuant to the Federal Rules of Civil Procedure (hereinafter “FRCP”) Rule 23.

11          18.      Plaintiff seeks to represent herself and a consumer class of individuals (the

12   “Class”) defined as:

13                   a. all persons similarly situated (1) in the State of Nevada, (2) from whom

14                       Defendant attempted to collect a consumer debt, (3) within one year before

15                       the date of this Complaint, (4) using the same, materially identical, Letter that

16                       was sent to Plaintiff on October 13, 2017.

17          19.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

18   class action:

19                a. Upon information and belief, the Class is so numerous that joinder of all members

20                   is impracticable because there are hundreds and/or thousands of persons who have

21                   received debt collection letters and/or notices from Defendant that violate specific

22                   provisions of the FDCPA. Plaintiff is complaining of a standard form letter and/or

23                   notice that is sent to hundreds and/or thousands of persons (See Exhibit A)

24                b. There are questions of law and fact which are common to the Class and which

25                   predominate over questions affecting any individual Class member. These


                                                        5
                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 6 of 10




 1         common questions of law and fact include, without limitation:

 2         i.       Whether Defendant violated various provisions of the FDCPA;

 3         ii.      Whether Plaintiff and the Class have been injured by Defendant’s conduct;

 4         iii.     Whether Plaintiff and the Class have sustained damages and are entitled to

 5         restitution as a result of Defendant’s wrongdoing and, if so, what is the proper

 6         measure and appropriate statutory formula to be applies in determining such

 7         damages and restitution; and

 8         iv.      Whether Plaintiff and the Class are entitled to declaratory and/or

 9         injunctive relief.

10      c. Plaintiff’s claims are typical of the Class, which all arise from the same operative

11         facts and are based on the same legal theories.

12      d. Plaintiff has no interest adverse of antagonistic to the interest of the other

13         members of the Class.

14      e. Plaintiff will fairly and adequately protect the interests of the Class and has

15         retained experienced and competent attorneys to represent the Class.

16      f. A Class Action is superior to other methods for the fair and efficient adjudication

17         of the claims herein asserted. Plaintiff anticipates that no unusual difficulties are

18         likely to be encountered in the management of this class action.

19      g. A Class Action will permit large numbers of similarly situated persons to

20         prosecute their common claims in a single forum simultaneously and without

21         duplication of effort and expense that numerous individual actions would

22         engender. Class treatment will also permit the adjudication of relatively small

23         claims by many Class members who could not otherwise afford to seek legal

24         redress for the wrongs complained of herein. Absent a Class Action, class

25         members will continue to suffer losses of statutory protected rights as well as


                                             6
                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 7 of 10




 1                    monetary damages. If Defendant’s conduct is allowed to proceed without remedy,

 2                    Defendant will continue to reap and retain the proceeds of its ill-gotten gains.

 3                h. Defendant has acted on grounds generally applicable to the entire Class, thereby

 4                    making appropriate final injunctive relief or corresponding declaratory relief with

 5                    respect to the Class as a whole.

 6                                                 Count I
                                        Violation of 15 U.S.C. § 1692e
 7

 8          20.       Plaintiff repeats, reiterates and incorporates by reference into this cause of action

 9   the allegations set forth above with the same force and effect as if the same were set forth at

10   length herein.

11          21.       Section 1692e of the FDCPA states that a “debt collector may not use any false,

12   deceptive, or misleading representation or means in connection with the collection of any debt.”

13          22.       Defendant’s October 13, 2017 letter, the Letter, states: “If we settle this debt with

14   you for less than the full outstanding balance, Chase may offer you less favorable terms in the

15   future for some Chase products or services, or may deny your application.” Exhibit A

16          23.       Defendant sent the Letter in connection with its attempts to collect the Debt.

17          24.       This language falsely implied that if Plaintiff does the converse – that is, pays the

18   claimed balance in full rather than agreeing to the lesser settlement amount – Plaintiff could

19   enhance her likelihood of receiving future credit products from Chase Bank or improve her

20   overall creditworthiness.

21          25.       The Letter is also deceptive and misleading in that it implies that the consumer

22   may enhance her likelihood of approval for credit products by paying the claimed debt in full

23   rather than the reduced settlement amount.

24          26.       The Letter violates Section 1692e of the FDCPA.

25   //


                                                         7
                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 8 of 10



                                                       Count II
 1                                        Violation of 15 U.S.C. § 1692e(10)
 2
            27.       Plaintiff repeats, reiterates and incorporates by reference into this cause of action
 3
     the allegations set forth above with the same force and effect as if the same were set forth at
 4
     length herein.
 5
            28.       Section 1692e(10) of the FDCPA states “…the following is a violation of
 6
     [Section 1692e]…The use of any false representation or deceptive means to collect or attempt to
 7
     collect any debt or to obtain information concerning a consumer.”
 8
            29.       Defendant’s October 13, 2017 letter, the Letter, states: “If we settle this debt with
 9
     you for less than the full outstanding balance, Chase may offer you less favorable terms in the
10
     future for some Chase products or services, or may deny your application.” Exhibit A.
11
            30.       Defendant sent the Letter in connection with its attempts to collect the Debt.
12
            31.       The Letter falsely represents, by implication, that payment in full, rather than
13
     settlement, would enhance her likelihood of receiving future credit products or enhanced overall
14
     creditworthiness.
15
            32.       The Letter violates Section 1692e(10) of the FDCPA.
16
                                                      Count III
17                                          Violation of 15 U.S.C. § 1692f
18         33.        Plaintiff repeats, reiterates and incorporates by reference into this cause of action

19   the allegations set forth above with the same force and effect as if the same were set forth at

20   length herein.

21         34.        Section 1692f of the FDCPA states that “[a] debt collector may not use unfair or

22   unconscionable means to collect or attempt to collect any debt.”

23         35.        Defendant’s October 13, 2017 letter, the Letter, states: “If we settle this debt with

24   you for less than the full outstanding balance, Chase may offer you less favorable terms in the

25   future for some Chase products or services, or may deny your application.” Exhibit A.


                                                        8
                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 9 of 10




 1         36.      Defendant sent the Letter in connection with its attempts to collect the Debt.

 2         37.      The Letter uses unfair means to collect or attempt to collect the alleged debt, by

 3   implication, that Plaintiff’s full payment would result in Defendant granting her more favorable

 4   credit terms in the future.

 5                                      PRAYER FOR RELIEF

 6          WHEREFORE, Plaintiff demands judgment against Defendants as follows:

 7          a.      Declaring that this action is properly maintainable as a Class Action;

 8          b.      Certifying Plaintiff as Class Representative;

 9          c.      Certifying Plaintiff’s counsel as Class Counsel;

10          d.      Adjudicating that Defendant violated 15 U.S.C. §§ 1692(e), 1692(e)(10), and

11   1692(f);

12          e.      Awarding Plaintiff and the Class statutory damages;

13          f.      Awarding Plaintiff and the Class actual damages;

14          g.      Awarding Plaintiff and the Class reasonable attorneys’ fees and costs incurred in

15   this Action;

16          h.      Awarding pre-judgment interest and post-judgment interest; and

17          i.      Awarding Plaintiff and the Class such other and further relief as this Court may

18   deem just and appropriate.

19
                                                  RESPECTFULLY SUBMITTED,
20      DATED: July 20, 2018
21                                                By: /s/ Mathew K. Higbee____
                                                  Mathew K. Higbee, Esq. (SBN 11158)
22                                                Higbee & Associates
                                                  2445 Fire Mesa Street, Ste 150
23                                                Las Vegas, NV 89128
                                                  Phone: (714) 617-8385
24                                                Fax: (714) 617-8511
                                                  consumeradvocacy@higbeeassociates.com
25                                                Attorney for Plaintiff


                                                     9
                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
           Case 3:18-cv-00349-RCJ-CBC Document 1 Filed 07/20/18 Page 10 of 10




 1                                    DEMAND FOR TRIAL BY JURY

 2           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

 3   trial by jury on all issues so triable.

 4

 5
                                                 RESPECTFULLY SUBMITTED,
 6       DATED: July 20, 2018
 7                                               By: /s/ Mathew K. Higbee____
                                                 Mathew K. Higbee, Esq. (SBN 11158)
 8                                               Higbee & Associates
                                                 2445 Fire Mesa Street, Ste 150
 9                                               Las Vegas, NV 89128
                                                 Phone: (714) 617-8385
10                                               Fax: (714) 617-8511
                                                 consumeradvocacy@higbeeassociates.com
11                                               Attorney for Plaintiff
12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                                    10
                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
